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   IT IS ORDERED as set forth below:




   Date: February 25, 2009
                                                     _________________________________
                                                               James E. Massey
                                                         U.S. Bankruptcy Court Judge
   _______________________________________________________________

                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

   ________________________________________à
   IN RE:                                    CASE NO. 09-60062

   Tawanna Savage,
                                                        CHAPTER 13

               Debtor.                       JUDGE MASSEY
   ________________________________________à

                        ORDER DISMISSING THIS CASE WITH PREJUDICE

          Tawanna Savage has filed five Chapter 13 cases since 2006; in each case she represented

   herself and she did nothing to prosecute any of those cases. In this case, the Court entered an

   Order on January 29, 2009, which described the history of the five cases Debtor filed since 2006

   and pointed out that her conduct in those cases reflected a pattern of failure to properly prosecute

   cases for which Debtor has not been asked to justify or explain because she voluntarily dismissed

   the earlier cases before she could be called to account. That Order further directed Debtor to

   appear before this Court at a hearing to be held on February 25, 2009 and to show cause why this

   case should not be dismissed with prejudice and why she should not be barred from filing another
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   case under title 11 of the U.S. Code prior to December 31, 2012. Debtor failed to appear at that

   hearing and still has not filed the documents she had a duty to file pursuant to section 521(a) of

   the Bankruptcy Code.

           Therefore, it is ORDERED that this case is DISMISSED with prejudice and Debtor is

   barred from filing another case under title 11 of the United States Code prior to December 31,

   2012.

           The Clerk is directed to serve a copy of this Order on Debtor, the Chapter 13 Trustee, and

   all creditors and other parties in interest.

                                          ***END OF ORDER***




                                                    2
